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                      IN THEUNITED STATESDISTRICTCOURT                                     C.C
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                     FOR THE W ESTERN DISTRICT OF VIRGINIA
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UM TED STATES OF AM ERICA
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               V.
                                                    InViolation of: 18U.S.C.j2261A(2)
A DR IAN M U L O 'D ELL                                             18U.S.C.j875(8)

                                       IN DIC TG N T

       TheGrandJurychargesthaj:
                                      BA CK G R O UN D

               Ata1ltim esrelevantto thisIndictm ent,defendant,ADRIAN M UL O'DELL '

lived in Odessa,Texas,which iswithintheW estern DistrictofTexas.

               Ata11timesrelevanttothisIndictment,defendantADRIAN RAUL Q'DX'LL
obtained orhad accotmts w1111 Gm ail,Facebook,Snapchat,and A m ino applications,a11ofwhich

areinteractivecomputerservices,electroniccommllnicationsyjtemsofinterstatecommerce,and
facilitiesofinterstate and foreign com merce.

       3.      A talltim esrelevantto thisIndictm ent,S.R.G .,a l6-yearold,and herim m ediate

fnm ily,which includ.esJ.G.,G.G.,N.G.,and R.G.,lived in Linden,Virginia,which iswithin the

W estern D istrictofV irginia.

       4.      From on oraround Septem ber2017,to on orârotmdM arch 2018,S.R.G.had an
                                                      ,    ?

orllinerelétionship with defendantADRIAN RAUL O'DELL,withwhom she commllnicated

about,nm ong othertopics,depression and suicide.

               On orarotm d A pril26,2018,S.R .G .w entm issing. Forseveraldays,S.R .G .'S

w hereaboutsw ere unknow n.




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            6.      TheW an'enCounty Sherriff'sOffice(W CSO)wasthe1aw enforcementagency
     that1edtheeffortsin locating S.R.G.'Sbody. On oraround M ay 8,2018,S.R.G.'Sbody was

     folmd in aheavily wooded areanotfarf'
                                         rom herhomein Linden,Virginia. S.R.G.had

     com m itted suicide.

                    ln orarotm dJtme2018,defendantADRIAN RAUL O'DELL sentan emailtothe

     W CSO usingaGmailaccotmt,odellgamez@gmail.com.In theemail,defendanttold aW CSO
     investigatorthatheknew whO droveS.R.G.to suicide andthattheperson wasGW driaw''who

     lived in ç&o dessa,Texas.''

            8.      In orarotm d Jtm e 2018,defendantA D RIAN M UL O 'D ELL,using Am ino,an

     onlhle socialm ediaapplication,madepostsandm essaged othersalsousing Am ino in wllichhe

     claimed responsibilityandtook creditforS.R.G.'Sdeath.

            9.      InoraroundAugust2018,defendantADR-
                                                     IAN RAULU'DELL attemptedto
     commllnicatewith S.R.G.'Sfam ily through Facebook M essenger,in which heasked whether

     they wererelatedto S.R.G.

            10.     On orarotmdN ovember29,2018,an anonm oustip submitted totheFederal

     BmeauofInvestigation (FBl)statedthatasuspectçihaswillinglyadmittedtoldllingES.R.G.1''
     andthatthe suspect'snam ewas<W drian O 'De1l''who livedin Odessa,Texas.

            11.     ln orarolm dDecember2018,defendantADRIAN RAUL O'DELL,tllrough a

     Facebook accountnam ed ElAmaildaW illinms,''contacted S.R.G.'Sfamily andfriendsin

     Facebook M essenger.Thedefendant,using theGtAmandaW illinm s''accolmt,claimed tobean

     Gtex-friend''ofO'De11and thatEçAdrian O'De11''claim ed responsibility forS.R.G.'Sdeath.The

     defendant,using the GGAm anda W illiam s''account,provided screenshotsofSnapchatm essages,




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in wilich a Snapchatusernnm ed GCEN''statedhow heldlled S.R.G. S.R.G.'Sfnm ily m embers

eitherdid notrespond to orblockedtheGiAmandaW illiam s''accotmt.

       12.    ln orarotmd December2018,afterthedefendantused theçiAmandaW illiams''

accolmtto contactS.R.G.'Sfriendsand fnmily,defendantA'
                                                     DR.
                                                       IAN RAUL O'DELL contacted

S.R.G.'Sfam ily and M endsthrough otherFacebook accounts,two ofwhich w erenam ed CQTM

Jolm son-''

       13.    On orarolmd Decem ber20,2018,defendantADIUAN RAUL O'DELL,through

theGt-l-im Johnson''Facebook accotmt,contacted J.G.,who isS.R.G.'Sm other.In them essage,
'
thedqfendantstated:

       Fuck yotlrstupid daughter.
       Patheticpieceofshitshewasblood,I'm glad Icalledthathitouton her,I'm glad
       Ildlled hernigga.
       Shitwasfan to do.
       Andy'allain'tnevercaughtm eand stillwon'tnigga.
       Y'a11areabtmch ofcucks
       Posting boutm e on here??
       Y ou dllm b afhoe     -
       1'11puta5kbagonyourheadand haveyou deadjustIikeIdidyourfucking
       daughter            '     '
       I know your exactaddresshoe
       Go ahead and presschargesandtry and m'restm e.
       Youbetterhopetheydooritstzrass
       1'11com eto Virginia and bloW up yo shit
       EGGqtoo,abitchawholebitchnigga
       Imadehisdaughtertakey'allgtm forsom eftm.
       G uessI am Satan
       Buty'allwon'tcatchme,fuck ES.R.G.);
       Fuck you ....
       G ive m e fw o m onths and y'allare gonna be in a cofrm nigga
       D on'tm essw ith gang shitbruh            '
       Y ou'llend up likeyour daughter.bitch ...
       You'reabad m otheryou cunt
       D on'tbe proud ofsilit....
       D on'tbe a dllm bass
       Y ou nevercared forher.
       N qitherdid 1,butIputherto rest.Postaboutm eagain and 1'11show you wtf
       hàPPens.           '
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(emphasisadded).
       14.     On orarotm dDecember28,2018,defendantADRIAN RAUL O'DELL,through

the tT im Jolm son''Facebook accotm t,contacted R .G .,w ho is S.R .G .'S sister. In the m essage,

defendantstated:

       You'reawholebitch,you know that'?? You'reaftzcldng cunt,you nevercaredfor
       yburown sistertmtilshedied you lying sack ofshit,Iatleastnm real,Ix didn'tgive
       afuck boutthatliIhoe,that'swhy F efuckingkilled her,Adrian and allofus.
       You tllink you guysare gonna catch us,y'allwon'tbruh,y'allbitches,you guys
       still find Adrian. Still can't after a11 that fucking effort, a whole ass police
       hwestigation.Y'allStoopid!Iguesswewilljustkeep gettingawaywithit.You
       bitches.

(emphasisadded).
       15.     On orarotmd Decem ber28,2018,to on oraround January 9,2019,defendant

ADIUAN RAUL O'DELL,throughthe çt-
                                fim Johnson''Facebook account,contactedN .G.,who

isS.R.G.'Sbrother. In thesem essages,defendantstated:

       II
        NGIboy,youawholebitchtoonigga,wekilled (S.R.G.j.W hatyougolmado aboutit,
       hoe assnigga?
       The(S.R.G.fnmilyjareabtmch scaredbitches.
       I'm overhere.W here the cops at?

       16.     On orarotmd'Decem ber20,2018,toon oraround January 9,2019,defendant

ADR-IAN RAUL O'DELL,throughthe<T im Johnson''Facebook accotmt,contacted other

relativesand friendsofS.R.G. In thesecontacts,thedefendantsentthreateningandharassing

Facebook messages,including onem essagein which hestated,ttNiggaIdid it!M e!!!Adl'ian

RaulO 'D e11N igga!!!1ldlled thatbitch!Called a hita11that!!!''

               On orarotm d January 15,2019,defendantA DIU AN R AU L O 'DELL w asserved

with aprotectiveorder,whichprohibited defendantf'
                                                rom threateningorcontacting J.G.,G.G.,
N .G .,and R.G .




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       18.    On orarotmd M ay 31,2019,thzough June 9,2019,defendantADRIAN RAUL

O'DELL contacted S.R.G.'Sfather,G.G.,tluough Facebook M essengerusinghisGW drian

O'De11''accotmt.In thoseFacebook m essages,defendantADRIAN RAUL O'DELL stated

tWviolated ''EGHaI'
                  Ia''Gçfree ''and GûYou'regomla getpmneddown bitch.''

       19. ThesubscriberinformationfortheInternetProtocol(IP)addressesassociated
withtheaboveaccountsandmessages- i.e.odellgnmez@gmail.com;Amino;FBITip;and
Facebook accolmtsforEtAclrian O'De11,''çtAmandaW illinmsn''andGi-
                                                                fim Jolm son''--correspond

todefendantADRIAN RAIJL O'DELL'Sresidencesinödessa,Texas.




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                                      COUNT ONE
                                     (Cyberstalldng)
      20.    Paragraphs1through 19 arerealleged andincorporated herein.

      21.    From on oraround Jtme2018through on orarotmd June 2019,i.
                                                                     n the W estern

DistrictofVirgirlia,andelsewhere,defendant,AD        RAUL O'DELL,withintenttoinjttre,
hrass,and intim idate,used an interactivecomputerserviceand electronic commtmication

system sofinterstatecommerce,and any otherfacility ofinterstatemld foreign comm erceto

engageinacouzseofconductthatplacedJ.G.,S.R.G.'Smoiher,inreaso/ablefearofdeath and

seriousbodilyinjtlrytoJ.G.andherimmediatefamilymembers,andcaused,attemptedtocause,
and would bereasonably expected to cgusesubstantialem otionaldistressto J.G.

      22. Al1inviolation ofTitle18,UnitedStatesCode,Section2261A(2)and2261($45).




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                                      C O U N T TW O
                                     (Cyberstalking)
              Paragraphs1through 19 arerealleged andincorporated herein.

       24.    From on orarotmdJtme2018through on orarotmd June2019,in,theW estern

DiskictofVirginia,and elsewhere,defendant,ADIUAN RAUL O'DELL,withintenttohjure,
harass,and intim idate,used an interactivecomputerserviceand electronic commtmication
                                                           ,




system sofinterstatecom merce,and any otherfacility ofinterstateand foreign comm erceto

engagein a com seofconductthatplaced R.G.,S.R.G.'Ssister,in reasonablefearofdeath and

seriousbodilyinjtlrytoR.G.andherimmediatefamilymembers,andcaused,attemptedto
cause,and would bereasonably expectedto cause substantialem otionaldistressto R.G.

       25. A11in violation ofTitle 18,United StatesCode,Section 2261A(2)and Section
2261(b)(5).
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                                     COUNT TW REE
                                      (Cyberstalking)
       26.    Pr agraphs 1through 19 arerealleged and incop orated herein.

       27.    From on oraround Jtme2018through on orarotmd Jtme2019,in the W estern

DistzictofVirginia,andelsewhere,defendant,ADIUAN ILAUL O'DELL,withintenttoinjure,
harass,orintimidate,used an interactivecomputerserviceand electroniccomm llnication

system sofinterstatecomm erce,and any otherfacility ofinterstate and foreign com merceto

engagein a colzrseofconductthatplaced G.G.,S.R.G.'Sfather,in reasonable fearofdeath and

seriousbodily injurytoG.G.andhisimmediatefnmilymembers,andcaused,attemptedtocause,
and would reasonably be expected to causesubstantialem otionaldistressto G.G.

       28.    Thisoffensewascomm itted in violation ofaprotectiveorder.

              Allin violation ofTitle 18,United StatesCode,Sedion 2261A(2)and Sedion
2261(b)(6).




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                                     COUNT FoUR
                                   (InterstateThreats)
       30.   Paragraphs1through 19 arerealleged andincop orated herein.

      31.    On orarotmd Decem ber20,2018,in theW estern DistrictofVirginia,and

elsewhere,defendant,ADRJAN M UL O'DELL,knowingly and willfully transm itted irl

interstateandforeigncommerceacommllnication containingathreattoinjuretheperson of
                           !
mlother,towit,J.G.,forthepurposeofissuing thethreatandwith knowledgethatthe

com mlmication would be interpreted asathreat.

      32. A11inviolationofTitle18,UnitedStatesCode,Section875(c).




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                                        C O U NT FIV E
                                      qnterstateThreats)
           33.   Paragraphs 1through 19 arereallegedand incorporated herein.

           34. OnorarotmdJtme1,2019,intheWesternDistrictofVirginia,ao elsewhere,
'
    defendant,ADRIAN M UL O'DELL,knowingly and willfully transm itted in interstate and

    foreigncommerceacommllnicationcontainingathreattoinjurethepersonofanother,towit,
                      l
    G.G.,forthepup ose ofissuingthethreatapdwith knowledgethatthecom mllnl
                                                                         .cationwouldbe

    intep reted asathreat.

           35. Al1inviolation ofTitle18,UnitedStatesCode,Section 875(c).




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            t,thisJs-
                    N ayor@aowc2o19

                                                /s/Foreperson
                                                GR AN D R JIY FO REPERSON



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        l ED STATES ATTO RN EY




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